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                                     UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION


 VEROBLUE FARMS USA INC.,                        §
    Plaintiff                                    §
                                                 §
   v.                                            §
                                                 §
 LESLIE A. WULF, BRUCE A. HALL, JAMES            §
 REA, JOHN REA, and KEITH DRIVER,                §
    Defendants/Third Party Plaintiffs,           §        CIVIL ACTION NO. 3:19-CV-00764-L
                                                 §
   v.                                            §
                                                 §
 EVA EBSTEIN, JENS HAARKOETTER, BJORN            §
 THELANDER, ANDERS WESTER, NORMAN                §
 MCCOWAN, DR. OTTO HAPPEL and ALDER              §
 AQUA, LTD.                                      §
   Third-Party Defendants                        §



    FOUNDER DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION TO STRIKE


          Defendants Leslie A. Wulf (“Wulf”), Bruce A. Hall (“Hall”), John E. “Ted” Rea (“T.

Rea”), and James Rea (“J. Rea”) (collectively “Founders”), hereby respond to Plaintiffs’ Motion

to Strike Certain Arguments and Evidence from Founder Defendants’ Brief (the “Motion”) [Dkt.

No. 215]. VBF’s Motion ignores both the facts of this case as well as the law.

          VBF asks this Court to strike any arguments in Founder’s Brief addressing what they deem

their “Original Claims,” (Counts 1-4 and 9-13 of the Second Amended Complaint), because

Founders filed a successful motion to dismiss under Rule 12(b)(3) for improper venue, against

VBF’s since-superceded Amended Complaint. VBF asserts that Fed R. Civ. P. 12(g) “bar[s]

successive pre-answer motions to dismiss,” thus, Founders are now barred from filing a motion to



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dismiss under Rule 12(b)(6) against VBF’s Second Amended Complaint. (Mot., Dkt. No. 215, p.

7). Rule 12(g) is not so absolute and does not apply when, as here, over 170 new factual allegations

and 18 new claims have been added to the complaint. VBF’s Motion is duplicative and only serves

to expend the Court’s and Founders’ resources unnecessarily.

          Rule 12(g) does not Bar Founders’ 12(b)(6) Motion -- The sole case that VBF relies upon

for its premise that Rule 12(g) bars Founders’ motion: Stoffels ex rel., SBC Concession Plan v.

SBC Commc’ns., Inc., 430 F. Supp. 2d 642 (W.D. Tex. 2006), is not binding on this court, and

despite its dicta, ultimately permits the purportedly barred Rule 12(b)(6) motion to proceed. Id. at

648-49 (“[A]lowing consideration of a second 12(b)(6) motion to dismiss is not an entirely

uncommon practice.”). In fact, another court in this district has held that reading Rules 12(b)(6)

and 12(h)(2) together operates to exempt Rule 12(b)(6) motions from Rule 12(g)’s consolidation

requirement; meaning, “the fact that defendant did not assert a Rule 12(b)(6) defense in their first

Rule 12(b) motion does not bar them from asserting a Rule 12(b)(6) defense in the present motion.”

MCW, Inc. v. Badbusinessbureau.com, No. Civ. A. 3:02-CV-2727-G, 2004 WL 833595 at * 6

(N.D. Tex. 2004) (permitting Rule 12(b)(6) motion after Rule 12(b)(5) motion denied) (emphasis

supplied)).

          Rule 12(g) Does Not Apply Since VBF Amended its Complaint to Add over 229

Allegations -- But the Court need not wade into this procedural debate because the law is clear,

that Rule 12(g) only applies to “defenses that were available but were not asserted.” Fed. R. Civ.

12(g). Thus, when a pleading is amended to include new or different allegations, it becomes

subject to a new 12(b)(6) motion: “whenever the court allows a party to amend its pleading, the

opposing party’s right to interpose a Rule 12(b)(6) motion is extended or revived accordingly.”

5C FED. PRAC & PROC. CIV. §1361 (Wright & Miller) (3d ed 2019) (emphasis supplied); see also



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id., §1388 (“[I]f the plaintiff voluntarily serves an amended complaint…the revised pleading may

contain new information or different allegation making subject to a defense or objection that was

not previously apparent to the movant.”). That is exactly what happened here. VBF’s Amended

Complaint (the initial complaint for all practical purposes), contained 42 paragraphs of factual

allegations which served as the underpinnings for the nine “Original” claims. VBF’s Second

Amended Complaint, contains 229 paragraphs of factual allegations (over 48 pages of additional

facts) and 27 claims for relief (3 times as many as the original). Although some of the 42

allegations from the Amended Complaint are repeated in the Second Amended Complaint, every

single claim for relief incorporates all 229 factual allegations. Thus, there are no “Original

Claims” in the Second Amended Complaint, because every single one of the nine claims initially

plead now contains over 175 paragraphs of new factual allegations. Founders’ motion attacks the

sufficiency of all of these allegations. 1

          VBF does not, and cannot argue, that Rule 12(g) prohibits Founders from attacking any of

the new allegations or claims that they raised. 5C FED. PRAC. & PROC. §1388. Since VBF did not

segregate its “Original Claims” and their factual underpinnings in the Second Amended

Complaint, then all of those allegations along with the hundreds of new ones, are subject to

dismissal under Rule 12(b)(6). Id. This is precisely what happened in Stoffels: plaintiff had been

granted leave to file an amended complaint, the court denied the prior motion to dismiss as moot,

and permitted the second motion to dismiss to proceed. Id., 430 F. Supp. 2d at 648. VBF dismisses

this as a “wrinkle in the procedural history.” (Mot, p. 7, n. 2.). But here, the Court also had denied



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 Perhaps best illustrating the folly of VBF’s argument is its failure to specify what portions of Founders’ Brief
should be stricken. VBF vaguely asks this Court to strike Founders motion to dismiss Counts 1-4 and 9-13. (Mot.,
p. 9). Which arguments are limited to the “Original” claims? Which portion of those arguments is limited to VBF’s
“original” allegations? Again, VBF added 177 allegations to every one of its claims; none of them remains in its
“original’ form.


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motions directed at the Amended Complaint as moot once leave to file the Second Amended

Complaint was granted. [Dkt. Nos. 158, 161.] Thus, this Court too, considered the Second

Amended Complaint to have “wipe[d] the slate clean, and to provide Defendants a new,

unobstructed opportunity to submit a 12(b)(6) motion.” Stoffels, 430 F. Supp. 2d at 648. In this

circumstance, Rule 12(g) does not apply and all of Founders’ arguments in its Rule 12(b)(6) motion

can and should be considered.

          VBF Ignored This Court’s Admonitions about Motions to Strike, thereby Entitling

Founders to Fees. A motion to strike is a drastic remedy that is granted only when a pleading “has

no possible relation to the controversy,” Augustus v. Bd. Of Pub. Instruction of Excambia Co. Fla.,

306 F.2d 862, 868 (5th Cir. 1962), such that it is “unworthy of consideration.” U.S. v. Cushman &

Wakefield, Inc., 275 F. Supp. 2d 763, 768 (N.D. Tex. 2002). VBF does not even argue this drastic

standard in its motion because it cannot be met here. Founders’ arguments are directly relevant to

the viability of VBF’s claims and are certainly relevant to whether its scorched earth-campaign

should continue. VBF’s opposing arguments could have been raised in its response to Founders’

Motion, rather than require additional briefing and attention by the Court.

          This is VBF’s second motion to strike filed against one of Founders’ briefs. [See also Dkt.

No. 47.] This Court has already reprimanded VBF for filing motions to strike against briefs, noting

that Rule 12 clearly provides that motions to strike are only to be directed at pleadings: “[M]otions

to Strike and unauthorized or disguised sur-replies are disfavored. And motions to strike under

Federal Rule of Civil Procures 12(f) are limited to pleadings….” [Order, August 19, 2019, Dkt.

No. 137.] This echoes the findings of sister courts in this district and commentators that motions

to strike are “disfavored and infrequently granted” because they often are sought by the movant

simply as a dilatory or harassing tactic” See Cushman & Wakefield,, 275 F. Supp. 2d at 768; see



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also 5C FED. PRAC. & PROC., § 1380 (same). Again, VBF again has submitted a motion to strike

arguments from a brief, rather than simply respond to them in its own brief.

          This is a waste of Founders and the Court’s time and resources. Seven motions to dismiss

already are pending before this Court. [Dkt. No. 180, 184, 206, 211, 220, 227, 229.] Filing

additional motions directed at briefing on other pending motions is wholly unnecessary and

unjustified. Given that VBF has been admonished about these types of motions before, but

flagrantly continues to file them, it is appropriate here, not only for VBF’s motion to be denied,

but for the Court to award Founders their fees and costs incurred in responding to this frivolous

motion.


                                             CONCLUSION

          For all these reasons, Founder Defendants, Leslie Wulf, John E. (Ted) Rea, Bruce Hall,

and James Rea, respectfully request that this Court deny Plaintiff’s Motion to Strike, and to award

them any and all other relief that it deems necessary and just, including their fees and costs incurred

in responding to this motion.

Date: January 10, 2020
                                               LESLIE WULF, BRUCE HALL,
                                               JOHN (TED) REA, JAMES REA

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                                                            Attorneys for Defendants, Leslie Wulf,
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                                             CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on this 10th day of January, 2020 a true and correct
copy of the above and foregoing was served upon counsel of records for all parties via ECF
Service.


                                                     /s/ Eli D. Pierce
                                                     Eli D. Pierce




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